             Case 3:21-cv-00074-KM Document 3 Filed 01/15/21 Page 1 of 9




             IN THE UNITED STATES DISTRICT COURT FOR THE
                   MIDDLE DISTRICT OF PENNSYLVANIA

KARL KREIG,
                                                CIVIL ACTION – LAW
                       Plaintiff
   v.                                             JUDGE MARIANI

WALMART STORES, INC.,                        JURY TRIAL DEMANDED

                       Defendant                  NO.: 3:21-cv-00074


                   ANSWER WITH AFFIRMATIVE DEFENSES

        NOW COMES the Defendant to this matter, WALMART STORES, INC.

(correctly “WAL-MART STORES EAST, L.P.”), through counsel, Thomas,

Thomas and Hafer, LLP, and hereby responds to the Complaint of Plaintiff, Karl

Kreig, as follows:

        1.      Denied. Defendant is without facts or information sufficient to form a

belief as to the truth or accuracy of the allegations contained within Paragraph 1

and, therefore, the allegations thereof are deemed denied.

        2.      Admitted in part and denied in part. It is admitted only that “Walmart

Stores, Inc.,” is identified as a Defendant to this matter. However, the proper

Defendant for purposes of this litigation is “Walmart Stores East, L.P.” It is denied

that Defendant has a principal place of business located at 900 Commerce

Boulevard, Dickson City, Lackawanna County, Pennsylvania. Rather, Defendant

is a Delaware corporation with a principal place of business located in Arkansas.
           Case 3:21-cv-00074-KM Document 3 Filed 01/15/21 Page 2 of 9




By way of further response, Defendant operates a retail store located at 900

Commerce Boulevard, Dickson City, Lackawanna County, Pennsylvania.

      3.      Admitted in part and denied in part. It is admitted only that Defendant

operates a retail store located at 900 Commerce Boulevard, Dickson City,

Lackawanna County, Pennsylvania. The remaining allegations of this paragraph

are denied as they constitute conclusions of law to which no responsive pleading is

required and, therefore, said allegations are deemed denied.

      4.      Denied.   The allegations contained within Paragraph 4 constitute

conclusions of law to which no responsive pleading is required and, therefore, the

allegations of this paragraph are denied on this basis. By way of further response,

the allegations of Paragraph 4, to the extent they are determined to be factual, are

denied as Defendant is without facts or information sufficient to form a belief as to

the truth or accuracy of these averments and, therefore, said averments are deemed

denied.

      5.      Denied. The allegations contained within Paragraph 5 constitute

conclusions of law to which no responsive pleading is required and, therefore, the

allegations of this paragraph are denied.

      6.      Denied as to all parts and sub-parts. The allegations contained within

Paragraph 6 constitute conclusions of law to which no responsive pleading is

required and, therefore, the allegations of this paragraph are denied. By way of


                                            2
           Case 3:21-cv-00074-KM Document 3 Filed 01/15/21 Page 3 of 9




further response, the allegations of Paragraph 6, to the extent they are determined

to be factual, are denied as Defendant is without facts or information sufficient to

form a belief as to the truth or accuracy of these averments and, therefore, said

averments are deemed denied.

      7.      Denied. The allegations contained within Paragraph 7 constitute

conclusions of law to which no responsive pleading is required and, therefore, the

allegations of this paragraph are denied.       By way of further response, the

allegations of Paragraph 7, to the extent they are determined to be factual, are

denied as Defendant is without facts or information sufficient to form a belief as to

the truth or accuracy of these averments and, therefore, said averments are deemed

denied.

      8.      Denied.   The allegations contained within Paragraph 8 constitute

conclusions of law to which no responsive pleading is required and, therefore, the

allegations of this paragraph are denied.       By way of further response, the

allegations of Paragraph 8, to the extent they are determined to be factual, are

denied as Defendant is without facts or information sufficient to form a belief as to

the truth or accuracy of these averments and, therefore, said averments are deemed

denied.

      9.      Denied.   The allegations contained within Paragraph 9 constitute

conclusions of law to which no responsive pleading is required and, therefore, the


                                         3
          Case 3:21-cv-00074-KM Document 3 Filed 01/15/21 Page 4 of 9




allegations of this paragraph are denied.         By way of further response, the

allegations of Paragraph 9, to the extent they are determined to be factual, are

denied as Defendant is without facts or information sufficient to form a belief as to

the truth or accuracy of these averments and, therefore, said averments are deemed

denied.

      10.    Denied. The allegations contained within Paragraph 10 constitute

conclusions of law to which no responsive pleading is required and, therefore, the

allegations of this paragraph are denied.         By way of further response, the

allegations of Paragraph 10, to the extent they are determined to be factual, are

denied as Defendant is without facts or information sufficient to form a belief as to

the truth or accuracy of these averments and, therefore, said averments are deemed

denied.

      WHEREFORE, Defendant, WALMART STORES, INC., (correctly

“WALMART STORES EAST, L.P.”), demands judgment in its favor and against

that of all other parties, together with costs of suit and all such other relief as this

Honorable Court deems just and equitable.




                                           4
         Case 3:21-cv-00074-KM Document 3 Filed 01/15/21 Page 5 of 9




                           AFFIRMATIVE DEFENSES

      NOW COMES the Defendant, WALMART STORES, INC., (correctly

“WALMART STORES EAST, L.P.”), and hereby asserts the following

Affirmative Defenses in further response to the allegations contained and set forth

in the Plaintiff’s Complaint, stating the following:

      Affirmative Defense 1.      Defendant believes and therefore avers that the

Plaintiff has failed to state a claim upon which relief might be granted against it.

      Affirmative Defense 2. Defendant further believes and therefore avers that

any injuries and damages sustained by the Plaintiff as a result of the incident at

issue in this matter may have been caused by the acts and/or omissions of either

persons or entities over and for whom it has no control and for whom it is not

responsible.

      Affirmative Defense 3.       The Plaintiff’s claims are, or may be, barred by

application of the appropriate Statute of Limitations and/or the Doctrine of Laches.

      Affirmative Defense 4.      To the extent discovery in this matter reveals

facts in support of the following allegations, Defendant asserts the following as an

affirmative defense so as not to have waived such defense for use at trial:

               (a)   Defendant may not have owed a duty to the Plaintiff at any time
                     relevant to this action;

               (b)   Defendant did not breach any duty that may have been owed to
                     the Plaintiff at any time relevant to this action;


                                           5
         Case 3:21-cv-00074-KM Document 3 Filed 01/15/21 Page 6 of 9




             (c)   In the event it is determined Defendant did breach a duty owed
                   to the Plaintiff, which has been denied, any such breach did not
                   constitute a substantial factor and/or legal cause of any injuries
                   and/or damages the Plaintiff may have sustained; and

             (d)   If it is determined Defendant did breach a duty owed to the
                   Plaintiff, which has been denied, it is alleged the Plaintiff did
                   not sustain any legally cognizable and/or recoverable damages
                   as a result thereof.

      Affirmative Defense 5. To the extent discovery in this matter reveals facts

in support of the following allegations, Defendant asserts the following as an

affirmative defense so as not to have waived such defense for use at trial:

             (a)   Defendant believes, and therefore avers, that the occurrence
                   giving rise to Plaintiff’s claims may have been caused by the
                   manner in which the Plaintiff acted and/or failed to act on the
                   date and at the time and location of the alleged occurrence;

             (b)   Defendant believes, and therefore avers, that the Plaintiff may
                   have acted in a manner that was unreasonable and imprudent
                   under the circumstances and the conditions existing at or near
                   the scene of the occurrence on the date and at the time alleged;

             (c)   Defendant further believes, and therefore avers, that any
                   injuries and/or damages the Plaintiff may have sustained would
                   not have occurred but for the Plaintiff’s own acts and/or
                   omissions; and

             (d)   Defendant believes, and therefore avers, that the Pennsylvania
                   Comparative Negligence Act, found at 42 Pa. C.S.A. §7102,
                   operates as a complete bar to the Plaintiff’s claims or, in the
                   alternative, operates to diminish the Plaintiff’s claims.




                                          6
           Case 3:21-cv-00074-KM Document 3 Filed 01/15/21 Page 7 of 9




       Affirmative Defense 6. At no time relevant hereto did Defendant,

purposefully and/or negligently conduct its affairs so as to cause Plaintiff’s harm,

as alleged.

       Affirmative Defense 7. The Plaintiff has failed to mitigate his damages, if

any.

       Affirmative Defense 8. Some or all of the injuries claimed by the Plaintiff

to have been caused by Defendant were pre-existing to the incident at issue, as

alleged.

       Affirmative Defense 9.      The condition more fully described in Plaintiff’s

Complaint which allegedly caused the Plaintiff’s injuries and harm, the existence

of which is denied, did not constitute a dangerous condition.

       Affirmative Defense 10. Defendant denies the existence of and/or

reasonable or constructive notice of the condition described in Plaintiff’s

Complaint.

       Affirmative Defense 11. The Plaintiff assumed the risk in all actions and/or

inactions undertaken at or about at the time of loss, as alleged.

       Affirmative Defense 12. Plaintiff’s claims are barred by operation of the

Choice of Ways doctrine.




                                          7
         Case 3:21-cv-00074-KM Document 3 Filed 01/15/21 Page 8 of 9




      WHEREFORE, Defendant, WALMART STORES, INC., (correctly

“WALMART STORES EAST, L.P.”), demands judgment in its favor and against

that of all other parties, together with costs of suit and all such other relief as this

Honorable Court deems just and equitable.

                                        Respectfully submitted,

                                        THOMAS, THOMAS & HAFER, LLP

                                        BY:    Ryan C. Blazure
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                                        Counsel for Defendant




                                           8
            Case 3:21-cv-00074-KM Document 3 Filed 01/15/21 Page 9 of 9




                          CERTIFICATE OF SERVICE

       I, RYAN C. BLAZURE, ESQUIRE, hereby certify that on the 15th day of

January 2021, I sent a true and correct copy of Defendant’s Answer with

Affirmative Defenses via ECF and electronic mail to:

                           Kevin M. Conaboy, Esquire
                    Abrahamsen, Conaboy and Abrahamsen, P.C.
                              1006 Pittston Avenue
                               Scranton, PA 18505
                            kconaboy@law-aca.com

                                      Respectfully submitted,

                                      THOMAS, THOMAS & HAFER, LLP

                                      BY:   Ryan C. Blazure
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                                        9
